43 F.3d 1456
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.Cecilia Palmisano FRUSHER, Appellant,v.BASKIN-ROBBINS ICE CREAM COMPANY, et al., Appellees.
    No. 94-1041.
    United States Court of Appeals,First Circuit.
    Dec. 21, 1994.
    
      APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND [Hon.  Ernest C. Torres, U.S. District Judge ]
      Cecelia P. Frusher on brief pro se.
      Mark W. Freel and Edwards &amp; Angell on brief for appellee.
      D.R.I.
      AFFIRMED.
      Before Cyr, Circuit Judge, Bownes, Senior Circuit Judge, and Stahl, Circuit Judge.
      Per Curiam.
    
    
      1
      Cecelia P. Frusher appeals a judgment of the district court affirming a decision by the bankruptcy court in an adversary proceeding initiated by appellant against her former franchisor.  The crux of appellant's argument is that the bankruptcy court erred in resolving against her the fact- dominated liability issues underlying her claims of misrepresentation, fraud and deceit.  Having carefully reviewed the briefs and relevant portions of the record in this six-day bench trial, we find no clear error in the bankruptcy court's factual findings and no suggestion of legal error.  See In re G.S.F. Corp., 938 F.2d 1467 (1st Cir. 1991).1  Accordingly, we need not reach the assignments of error relating to damages.  We see no support for appellant's further contention that the decisions below were influenced by gender bias.
    
    
      2
      Affirmed.
    
    
      
        1
         The parties' briefs join issue on the applicable standard of review in this court following the district court's review under Bankruptcy Rule 8013.  We adhere to the rule that this court "independently reviews the bankruptcy court's decision, applying the clearly erroneous standard to findings of fact and de novo review to conclusions of law."  GSF Corp., 938 F.2d at 1474.  Any errors committed by the district court in findings of fact during its review are rendered harmless by our independent review, so we do not address those arguments in appellant's brief
      
    
    